    Case 5:21-cv-00056-LGW-BWC Document 153-2 Filed 02/02/24 Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                WAYCROSS DIVISION

 DR. MAHENDRA AMIN, M.D.,

                Plaintiff,                           CIVIL ACTION NO.: 5:21-CV-00056-
                                                     LGW-BWC

         v.

 NBCUNIVERSAL MEDIA, LLC,

                Defendant.

                             DECLARATION OF STACEY G. EVANS

       1.      My name is Stacey G. Evans and I am an attorney and Partner at Stacey Evans

Law, located at 4200 Northside Pkwy. NW, Suite 200, Atlanta, Georgia 30327. I am an attorney

of record for the Plaintiff, Dr. Mahendra Amin, in this action.

       2.      The patient referred to in briefing as “KC,” who received a hysterectomy from Dr.

Amin while she was detained by ICE at ICDC, was not deposed in this action.

       3.      In this action, Dr. Amin has produced to NBCUniversal thousands of pages of

medical records pertaining to hundreds of women detained by ICE at ICDC who were his

patients over the course of his several years of treating that patient population.

       4.      On December 22, 2023 and January 5, 2024, NBCUniversal produced

communications pursuant to the Court’s order granting in part Dr. Amin’s motion to compel.

These documents included communications attached to Dr. Amin’s response to summary

judgment.

       5.      NBCUniversal only produced five emails showing Ms. Wallace being given any

information about ICDC or Dr. Amin prior to her show on September 15, 2020. Ms. Wallace

provides no comment in these emails.
    Case 5:21-cv-00056-LGW-BWC Document 153-2 Filed 02/02/24 Page 2 of 6




       6.      Attached as Exhibit A is a true and correct copy of Ainsley-Soboroff Text

Exchange, Sept. 2020.

       7.      Attached as Exhibit B is a true and correct copy of excerpts of the deposition of

Dawn Wooten, Sept. 30, 2023. It is completely redacted.

       8.      Attached as Exhibit C is a true and correct copy of an article by the website

Prism, Sept. 17, 2020.

       9.      Attached as Exhibit D is a true and correct copy of excerpts of the deposition of

Christopher Scholl, July 12, 2023. It is partially redacted.

       10.     Attached as Exhibit E is a true and correct copy of an email written by Andrew

Free, September 23, 2020. It is completely redacted.

       11.     Attached as Exhibit F is a true and correct copy of excerpts of the deposition of

Julia Ainsley, April 25, 2023. It is partially redacted.

       12.     Attached as Exhibit G is a true and correct copy of excerpts from the deposition

of Jacob Soboroff, May 18, 2023.

       13.     Attached as Exhibit H is a true and correct copy of excerpts from the deposition

of Ben Osorio, Sept. 15, 2023. Identifying names of one patient and two clients have been

redacted.

       14.     Attached as Exhibit I is a true and correct copy of declaration of Dr. Mahendra

Amin, February 2, 2024.

       15.     Attached as Exhibit J is a true and correct copy of affidavit of Robert Juran Ray,

CRNA, October 20, 2020.

       16.     Attached as Exhibit K is a true and correct copy of affidavit of Maria Nito,

October 1, 2020.




                                                  2
    Case 5:21-cv-00056-LGW-BWC Document 153-2 Filed 02/02/24 Page 3 of 6




       17.       Attached as Exhibit L is a true and correct copy of affidavit of Carol Hutchison,

April 2, 2023.

       18.       Attached as Exhibit M is a true and correct copy of excerpts of the deposition of

Warden David Paulk, November 13, 2023. It is completely redacted.

       19.       Attached as Exhibit N is a true and correct copy of Ainsley Email, September 18,

2020. It is completely redacted.

       20.       Attached as Exhibit O is a true and correct copy of Ainsley Email, October 14,

2020. It is completely redacted.

       21.       Attached as Exhibit P is a true and correct copy of Email Thread 1, September

15, 2020.

       22.       Attached as Exhibit Q is a true and correct copy of Email Thread 2, September

15, 2020.

       23.       Attached as Exhibit R is a true and correct copy of Email Thread 3, September

15, 2020. It is completely redacted.

       24.       Attached as Exhibit S is a true and correct copy of Email Thread 4, September

15, 2020.

       25.       Attached as Exhibit T is a true and correct copy of Email Thread 5, September

15, 2020.

       26.       Attached as Exhibit U is a true and correct copy of Email Thread 6, September

15, 2020.

       27.       Attached as Exhibit V is a true and correct copy of Email Thread 7, September

15, 2020.




                                                  3
    Case 5:21-cv-00056-LGW-BWC Document 153-2 Filed 02/02/24 Page 4 of 6




        28.   Attached as Exhibit W is a true and correct copy of excerpts of the deposition of

NBCUniversal 30(b)(6) witness, Mary Faria, October 3, 2023.

        29.   Attached as Exhibit X is a true and correct copy of Article in NewsConnect,

September 15, 2020. It is completely redacted.

        30.   Attached as Exhibit Y is a true and correct copy of Wooten Retaliation

Complaint, December 29, 2022.

        31.   Attached as Exhibit Z is a true and correct copy of DHS OIG Report, January 23,

2024.

        32.   Attached as Exhibit AA is a true and correct copy of excerpts of the deposition of

Dr. Mahendra Amin, August 1, 2023.

        33.   Attached as Exhibit BB is a true and correct copy of excerpts of the deposition of

Maria Nito, August 23, 2023.

        34.   Attached as Exhibit CC is a true and correct copy of excerpts of the deposition of

Alma Arceo, October 3, 2023.

        35.   Attached as Exhibit DD is intentionally omitted.

        36.   Attached as Exhibit EE is a true and correct copy of excerpts of the deposition of

Rachel Maddow, May 17, 2023. It is partially redacted.

        37.   Attached as Exhibit FF is a true and correct copy of excerpts of the deposition of

Alexander Price, June 15, 2023.

        38.   Attached as Exhibit GG is a true and correct copy of excerpts of the deposition of

Chris Hayes, August 9, 2023.

        39.   Attached as Exhibit HH is a true and correct copy of Shamis Emails 1,

September 17, 2020. It is completely redacted.




                                                 4
    Case 5:21-cv-00056-LGW-BWC Document 153-2 Filed 02/02/24 Page 5 of 6




       40.     Attached as Exhibit II is a true and correct copy of Shamis Emails 2, September

18, 2020. It is completely redacted.

       41.     Attached as Exhibit JJ is a true and correct copy of Shamis Texts, September 15,

2020. It is completely redacted.

       42.     Attached as Exhibit KK is a true and correct copy of an audio recording of the

phone meeting “Standards Call,” produced by NBCUniversal, the transcript of which

NBCUniversal filed at Doc. 132-15, Price Decl. Ex. 15. It is completely redacted.

       43.     Attached as Exhibit LL is a true and correct copy of signed medical consent

forms of the patient referred to by the parties as “PB.” It is completely redacted.

       44.     Attached as Exhibit MM is a true and correct copy of signed medical consent

forms of the patient referred to by the parties as “MCR.” It is completely redacted.

       45.     Attached as Exhibit NN is a true and correct copy of signed medical consent

forms of the patient referred to by the parties as “YRJ.” It is completely redacted.

       46.     Attached as Exhibit OO is a true and correct copy of excerpts of the deposition of

“BPR,” July 21, 2023. It is completely redacted.

       47.     Attached as Exhibit PP is a true and correct copy of excerpts of the deposition of

“LW,” September 22, 2023. It is completely redacted.

       48.     Attached as Exhibit QQ is a true and correct copy of excerpts of the deposition of

“MCR,” September 6, 2023. It is completely redacted.

       49.     Attached as Exhibit RR is a true and correct copy of excerpts of the deposition of

“YYO,” July 27, 2023. It is completely redacted.

       50.     Attached as Exhibit SS is a true and correct copy of excerpts of the deposition of

“YRJ,” July 27, 2023. It is completely redacted.




                                                 5
    Case 5:21-cv-00056-LGW-BWC Document 153-2 Filed 02/02/24 Page 6 of 6




       51.     Attached as Exhibit TT is a true and correct copy of excerpts of the deposition of

Dr. Lauren Hamilton, October 30, 2023. It is completely redacted.

       52.     Because multiple exhibits have been designated CONFIDENTIAL pursuant to the

operative protective orders in this case (Doc. 42; Doc. 107), I will file a Motion to Seal

concurrently with this motion and will send the Court unredacted versions of the exhibits that are

attached to this motion and redacted as to cited portions.




       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct. Executed in Atlanta, Georgia on February 2, 2024.


                                              By: /s/ Stacey G. Evans
                                                  Stacey G. Evans




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